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                                          SHARON S.
                                                                               Aronberg Goldgehn Davis & Garmisa
                                                                               330 North Wabash Ave., Suite 1700
                                                                               Chicago, Illinois 60611-3586
                                                                               TEL: 312-828-9600
                                                                               FAX: 312-828-9635
                                                                               www.agdglaw.com

                                                                               SOFIA QUEZADA HASTINGS
                                                                               SHASTINGS@AGDGLAW.COM

                                                                               OUR FILE NUMBER: 104190.000300




                                           December 22, 2023

VIA ECF
The Honorable Ona T. Wang
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

        RE: Joint Status Letter

Dear Judge Wang:

         Counsel for Plaintiff, Amplify Car Wash Advisors, LLC, files this joint status letter on behalf
of all parties pursuant to the minute entry dated November 9, 2023. [Dkt. 64] as a follow up to the
parties’ December 1st Joint Status.

         On December 18, 2023, Plaintiff Amplify took the 30(b)(6) deposition of Defendant CWA.
CWA designated Colin May to participate for the company. The deposition mainly concerned
advertising keywords and financial documents of CWA that Mr. May in part was not able to testify
over. After the deposition, Plaintiff reached out to Defendant addressing its concerns. Defendant
represents that there are certain financial recordkeeping aspects that the Defendant does not
undertake as part of its regular business practice, and thus no CWA representative will be able to
testify to such records. Plaintiff is awaiting receipt of the transcript from the deposition to determine
whether any further testimony on behalf of the company would be necessary.

       Mr. May’s testimony also implied that several responsive documents may have been
inadvertently omitted from production. Defendant has since stated that those documents that will be
produced and has begun that production.

        The parties have also mutually expressed their interest to proceed with mediation. Plaintiff is
available in early-mid January, with limited blocks of availability after January. Plaintiff would
prefer an in-person mediation. Defendant is also available in early-mid January, with blocks of
availability in February and March. A virtual proceeding would be preferable to the Defendant if
possible.


                                                      /s/ Sofia Quezada Hastings
                                                      Sofia Quezada Hastings
                                                      One of the Attorneys for Plaintiff




          MEMBER: LEGAL NETLINK ALLIANCE - AN INTERNATIONAL ALLIANCE OF INDEPENDENT LAW FIRMS
